               Case 2:12-cr-00238-TLN Document 17 Filed 09/20/12 Page 1 of 3


     JAN DAVID KAROWSKY
 1   Attorney at Law
     A Professional Corporation
 2   California State Bar Number 53854
     716 19th Street, Suite 100
 3   Sacramento, CA 95811-1767
     (916) 447-1134
 4   (916) 448-0265 (Fax)
 5   Attorney for Defendant
     Eric Johnston
 6

 7                               UNITED STATES DISTRICT COURT

 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                     )   Case No.: Cr.S-12-0238-MCE
10   United States of America,                       )
                                                     )
11                  Plaintiff,                       )   STIPULATION TO CONTINUE
                                                     )   STATUS CONFERENCE
12          vs.                                      )
                                                     )
13   Nicholas Perry and Eric Johnston,               )
                                                         DATE: September 20, 2012
                                                     )
14                  Defendants                       )   TIME: 9:00 a.m.
                                                     )   JUDGE: Hon. Morrison E. England, Jr.
15                                                   )
                                                     )
16

17

18          All counsel need additional time for ongoing negotiations. Therefore, it is requested that

19   the Status Conference set for September 20, 2012 at 9:00 a.m. be continued to October 18, 2012

20   at 9:00 a.m.. I have spoken to both AUSA Kyle Reardon and counsel for Mr. Perry, Kresta Daly,

21   both of whom agree to this request and further agree that I may sign their names to it.

22                                           STIPULATION

23          Plaintiff, United States, and Defendants, Nicholas Perry and Eric Johnston, through their

24   undersigned counsel, hereby stipulate and agree that the Court may re-set the date for the Status

25   Conference to October 18, 2012 at 9:00 a.m. The parties further stipulate that time may be




                                                     -1-
               Case 2:12-cr-00238-TLN Document 17 Filed 09/20/12 Page 2 of 3



 1   excluded from the Speedy Trial Act calculation from and including the date of September 20,

 2   2012, the date currently set for the Status Conference, to and including October 18, 2012, the

 3   new Status Conference date, pursuant to 18 U.S.C. §3161 (h)(7)(A) and (B)(iv) and Local Code

 4   T4 in order to give Counsel for the Defendants reasonable time to prepare. The parties stipulate

 5   that the ends of justice to be served by granting the continuance outweigh the best interests of the

 6   public and defendants in a speedy trial.

 7   IT IS SO STIPULATED.

 8
     DATED:         September 19, 2012                     BENJAMIN B. WAGNER
 9                                                         United States Attorney
10
                                                           /s/ Kyle Reardon
11                                                         by Jan David Karowsky w/
                                                           Mr. Reardon’s approval
12                                                 by
                                                           Kyle Reardon
13                                                         Assistant U.S. Attorney
                                                           by Jan David Karowsky
14
     DATED:         September 17, 2012                     KRESTA DALY
15                                                         Attorney at Law
16
                                                           /s/ Kresta Daly
17
                                                           By Jan David Karowsky w/
                                                           Ms. Daly’s approval
18                                                         Attorney for Defendant
                                                           Nicholas Perry
19

20   DATED:         September 19, 2012                     JAN DAVID KAROWSKY
                                                           Attorney at Law
21                                                         A Professional Corporation
22
                                                           /s/ Jan David Karowsky
23
                                                   by
24                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
25                                                         Eric Johnston




                                                     -2-
                              Case 2:12-cr-00238-TLN Document 17 Filed 09/20/12 Page 3 of 3



 1                                                                        ORDER
 2
                            Based on the stipulation of the parties and good cause appearing therefrom, the Court
 3

 4   hereby finds that the failure to grant a continuance of the date now set for a Status Conference in

 5   this case would deny respective counsel for all parties reasonable time necessary for effective

 6   preparation, taking into account the exercise of due diligence. The Court specifically finds that

 7   the ends of justice served by the granting of such a continuance outweigh the interests of the
 8   public and the defendants in a speedy trial and that the time within which the trial of this matter
 9
     must be commenced under the Speedy Trial Act is excluded during the time period from and
10
     including September 20, 2012, through and including October 18, 2012, pursuant to 18
11
     U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
12
                            Based on these findings and pursuant to the stipulation of the parties, the Court hereby
13
     adopts the stipulation of the parties in its entirety as its order.
14

15                          IT IS SO ORDERED.

16
     Dated: September 19, 2012
17
                                                              __________________________________
18
                                                              MORRISON C. ENGLAND, JR
19                                                            UNITED STATES DISTRICT JUDGE

20
     DEAC_Signatu re-END:




21

22
     c4d6b0d3
23

24

25




                                                                    -3-
